                         UNITED STATES BANKRUPTCY COURT

                                   DISTRICT OF OREGON

In re                                              Bankruptcy Case No. 14-61036-tmr13

SOFIA MARIA KENNEDY,                               Chapter 13

               Debtor.                             STIPULATION RE: LOAN
                                                   MODIFICATION AGREEMENT



        This Stipulation Re: Loan Modification Agreement ("Stipulation") is entered into by and

between Sofia Maria Kennedy (hereinafter referred to as "Debtor"), by and through counsel,

MATTHEW A CASPER; and U.S. Bank Trust, N.A., as Trustee for LSF9 Master Participation

Trust, by Caliber Home Loans, Inc., as its attorney in fact (hereinafter referred to as "Creditor"),

by and through its counsel of record, Aldridge Pite, LLP, as follows:

                                           RECITALS

        A.     Debtor is the maker of a Note in favor of Countrywide Home Loans, Inc.

(hereinafter referred to as "Lender") dated March 29, 2004, in the original principal amount of

$324,000.00, which is secured by a Deed of Trust encumbering the real property at 5619 S. Fork

Little Butte Cree, Eagle Point, OR 97524-5533 (the "Subject Property"). The Note and Deed of

Trust are collectively referred to hereinafter as "Subject Loan."

        B.     Subsequently, Lender's beneficial interest in the Subject Loan was sold, assigned,

and transferred to Creditor.


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        C.       On or about March 24, 2014, Debtor filed a voluntary petition under Chapter 13

of the Bankruptcy Code in the United States Bankruptcy Court for the District of Oregon -

Eugene Division, and was assigned Case No. 14-61036-tmr13.

        D.       On or about June 20, 2014, Creditor filed a Proof of Claim on account of the

Subject Loan reflecting outstanding pre-petition arrears in the amount of $327,754.56.

        E.       On or about November 3, 2014, the Court entered an order confirming the

Debtor's Chapter 13 Plan.

        F.       Creditor has agreed to modify the Subject Loan pursuant to the terms set forth in

the document attached hereto as Exhibit A.

        G.       The Loan Modification Agreement terms are described more fully below:


  Original Loan Terms                                    Modified Loan Terms

 Principal Balance        $312,169.34                Principal Balance           $330,141.48

 Deferred Principal       $0.00                      Deferred Principal          $0.00

 Balance                                             Balance

 Balloon Payment          $0                         Balloon Payment             $0

 Total Monthly P&I                                   Total Monthly P&I

 Payment                  $1,368.96                  Payment                     $1,328.91

 Total Monthly Payment    $1,806.74 (including       Total Monthly Payment       $1,695.59 (including

 (including escrow        $437.78 monthly escrow     (including escrow           $366.68 monthly escrow

 impounds)                payment)                   impounds)                   payment)

 Maturity Date            4/01/2034                  Maturity Date               10/01/2058

 Term of Note             months                     Term of Note                480 months

 Interest Rate            4.0%                       Interest Rate               3.75%

 Fixed or Adjustable      Adjustable                 Fixed or Adjustable         Adjustable


                                        Years            Interest Rate     Total P&I Payment
                                         1-5                3.75%              $1,328.91
                                         35                 4.60%              $1,489.04


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THE PARTIES HEREBY STIPULATE AS FOLLOWS:

       1.     The automatic stay of 11 U.S.C. § 362 shall be modified to allow Creditor to offer

and provide Debtor with information regarding a potential Forbearance Agreement, Loan

Modification, Refinance Agreement, or other Loan Workout/Loss Mitigation Agreement;

       2.     The loan modification agreement attached as Exhibit A shall be effective upon

filing the executed Stipulation with the court or alternatively, upon the dismissal of the Debtor

bankruptcy case; and

IT IS SO STIPULATED:


Dated: December 26, 2018                    By:      /s/Matthew A. Casper
                                                  MATTHEW A CASPER
                                                  Attorney for Sofia Maria Kennedy


                                                  ALDRIDGE PITE, LLP


Dated: December 28, 2018                    By:       /s/Jesse A.P. Baker
                                                  JESSE A.P. BAKER
                                                  Attorney for U.S. Bank Trust, N.A., as Trustee
                                                  for LSF9 Master Participation Trust, by Caliber
                                                  Home Loans, Inc., as its attorney in fact




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